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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     CRYSTAL CRAIG, et al.,                              Case No. 23-cv-00315-HSG
                                                        Plaintiffs,
                                   8
                                                                                             ORDER REASSIGNING CASE
                                                 v.
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                                  10     META PLATFORMS, INC.,
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          IT IS ORDERED that this case is reassigned to the Honorable Susan Illston in the San

                                  14   Francisco division for all further proceedings. Counsel are instructed that all future filings shall

                                  15   bear the initials SI immediately after the case number.

                                  16          All hearing and trial dates presently scheduled are vacated. However, existing briefing

                                  17   schedules for motions remain unchanged. Motions must be renoticed for hearing before the judge

                                  18   to whom the case has been reassigned, but the renoticing of the hearing does not affect the prior

                                  19   briefing schedule. Other deadlines such as those for ADR compliance and discovery cutoff also

                                  20   remain unchanged.

                                  21   Dated: February 9, 2023

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                                                                                         Mark B. Busby
                                  24                                                     Clerk, United States District Court
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                                  27   A true and correct copy of this order has been served by mail upon any pro se parties.
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